                                                   DEPOSITION OF JOHN H PRIES DVM TAKEN ON MARCH 19 2015
                                                                       81                                                                          83
      1        A.      Not the expert.                                              1   but they can ' t survive if they ' re wild .

      2        Q.      Oh.                                                          2          Q.     So if you were invited to speak at trial,

      3        A.      I told you that at the start .        I'm just               3   Dr . Pries, do you know what kinds of things you

(     4   here supporting Pam .                                                     4   might be asked to testify about?
      5        Q.      Okay .     Well, have you formed any opinions                5          A.     No .

      6   about this case?                                                          6          Q.     Okay.     Well, here's some of the things

      7        A.      I' m n ot c l ear what the ir case i s, other                7   that you might be ask.ed to testify about .             Animal

      8   t han they don't want Pam to have a zoo.                                 8    husbandry.           How would you define anima l husbandry?

      9        Q,      Okay.                                                        9          A.     That ' s what p eople up h e re do all the

     10        A.      So tell me where these animals are                         10    time.       We ' re taking care of our livestock or our

     11   supposed to go.                                                         11    animals that give u s an income.          It's just l ike

     12        Q,      Have you read the complaint, Dr. Pries?                    12    feeding your kids a nd your dogs.          I mean , let ' s

     13   The plaintiff ' s file?                                                 13    treat the m righ t .

     14        A.      Yeah .                                                     14           Q.     So animal husbandry is taking care of

     15        Q.      Okay.      What was your understanding of the              15    animals and treating them right.            Is that how you

     16   complaint?                                                              16    would define it?
     17        A.      It makes no s e nse to me.                                 17           A.     Yeah , it's fine .

     18        Q.      Oh.      Tell me about that.                               18           Q.     Okay.     And what kind of considerations

     19        A.      Well , ask me some more questions that                     19    would be included in evaluating whether an anima l

     20   pertains to Pam's zoo.          Why they're complaining                 20    was taken care of or treated right?

     21   about Pam's zoo .                                                       21           A.     They alway s have water .

     22        Q.      Well, we ' ll get to that -- we may get to                 22           Q.     Okay .

     23   that in a minute, but I wante d to know what you                        23           A.     They're f e d when they ' re hungry.    If

     24   understood about the complaint.              You said that the          24    they're supposed t o be wet, they got a place to

     25   lawsuit doesn ' t make sense to you, but you have                       25    swim.       If they're n ot supposed to, they're dry.


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      1   read the complaint .          So do you understand        ~1hat   the    1           Q.     Okay.     What about -- you ment ioned that

      2   plaintiffs are saying about Pam's zoo?                                   2    they have a good place to lay around, the animals

      3        A.      No.      You t ell me what t hey 're c omplaining            3   at Pam's zoo.           Does the size of the enclosure

      4   about.      I mean, it 's legal in there, fine.           But            4    matter?

      5   wh at ' s the compl aint?                                                5           A.     Sometimes.

      6        Q.      Well,     they brought a lawsuit under the                   6          Q.     When does i t matter?

      7   Endangered Species Act allegi ng that Pam and Tom                        7           A.     So there ' s e nough square feet fo r

      8   Sellner and Cricket Hollow Zoo are n ot treating the                     8    whatever the animal size is.

      9   enda ngered animals there in compliance with what                         9          Q.     Okay.

     10   the Endangered Species Act would require.                               10           A.     And I'm sure somebo dy' s got a book on

     11        A.      And I don't see that.                                      11    that.

     12        Q.      Okay.      So your opinion, then, would be                 12           Q.     But you haven ' t seen one?

     13   that Pam and Tom Sellner are not violating the                          13           A.     No.

     14   Endangered Species Act.                                                 14           Q.     Okay .    What else \•ould make an enclosure

     15        A.      No.                                                        15    adequate for an animal?            The size is one.     If the

     16        Q.      Okay .     So on what -- on what basis do you              16    animal has to be wet and swimming, that ' s another.

     17   maintain that opini on?                                                 17    What else would a person have to think about if

     18        A.      I   see healthy animals in these cages that                18    they were evaluating whether the enclosure was

     19   if Pam didn ' t have them a nd no other zo o wanted                     19    adequate for the animal?

     20   t hem , t hey'd be dead .      And I don ' t like dea d                 20           A.     They've got fresh air , g ood ventilation ,

     21   a nimals and they're heal t hy.                                         21    and i t 's eit her - - i t's the right temperature for

     22        Q,      No b ody does.                                             22    that ani mal .

     23        A.      The y get food when they n eed it , they've                23           Q.     Okay .    What else?

     24   got fr esh water, a nd they've got a great place to                     24           A.     That 's a ll I can --

     25   lay around.        They ' re not wild.    They'd like to be,            25           Q.     Okay.     Would you say that nut rition is a

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     1          A.       No.     It's daily .    I mean , it's - -                1   monkeys or c ats or anything.              I'd have to ask a

     2          Q.       Whose handwriting is this, Dr. Pries, do                 2   zoo.

     3   you kn01•?                                                               3           Q.    \~hat    do you mean by " go      ~lith"?

(    4          A.       That's my handwriting .                                  4           A.    Well, they got d ifferent heat cycles.

     5          Q.       That ' s your hand1.riting?                              5   That may be more season al .            They may be h o r mones

     6          A.       (Nods yes. )                                             6   that aren't going to work o n t hem that would on

     7          Q.      Okay .     Thank you.      Same on this page?      Is     7   cattle .
     8   this all your handwriting?                                               8           Q.    But in terms of 1·1hether a person 1•1ho ' s

     9          A.       Yes .                                                    9   breeding wi l d animals should have a vete rinarian's

    10          Q.      Okay .     Thank you.      Wha t about dental            10   advice when they' r e breeding, you don ' t h a v e an

    11   care?        Does your office do dent al care?                          11   opin ion about that?
    12          A.      Cats and dogs.                                           12           A.     (Nods no. )

    13          Q.      Cats and d og s?        What about for Pam's             13           Q.    No?      All right .     For Ms. Sellner ' s

    14   1•ildlife?                                                              14   emergency evacuation plan, she merely wrote t he

    15          A.       I don't remember d o ing any dental work                15   name of Elkader Veterinary Clinic.                 Do you know

    16   for them .                                                              16   what tha t means?             Do you know what the emergency

    17          Q.      Okay.      Have you he l ped the Sellners ever           17   e v acuation plan is that i nvolves your clinic?

    18   with a breeding p rogram?                                               18           A.    When I talked t o Pam about it , I jus t

    19          A.      No .                                                     19   think we're calling the sheriff's office a nd I

    20          Q.       No?     Have you e ver spa y ed or neutered any         20   might get contac ted if t hey n eed some help.

    21   of the Sellners ' animals?                                              21           Q.    Okay .       Have you ever had to do that?

    22          A.      We've neutered .                                         22           A.    No .

    23          Q.      Which ones have you neutered?                            23           Q.    No .     Okay.      All right .   Okay.     So I kn ow

    24          A.      The monkey?      Monkey.                                 24   we ' ve b een at this for a while, and then you have

    25          Q.       Do you remember which one?                              25   other Hark to do, but I did want to discuss some of


(                                                                    110                                                                             112
     1          A.       I don't remember the name .                              1   the animals at the Cricket Hollow Zoo before we

     2          Q.      Just one monkey?                                          2   wrap up.       And I know that you're getting a l ittle

     3          A.       I think all we did on the reproduction                   3   restless or frustrated, so I do appreciate your

     4   was maybe tal k about one baboon that may or may not                     4   time .       I think if we're efficient, we might finish

     5   have bred some femal e.                                                  5   by 5.

     6          Q.      Can you tell me more about that?                          6           A.    Okay.

     7          A.      That's about what I told you.          We talked          7           Q.    I appreciate your time.            I wonder if you

     8   about it might breed another baboon .                                    8   could descri b e any experience you might have

     9          Q.      Okay.      I thought you were suggesting you              9   observing or studying lemurs in the wild .

    10   didn ' t know whether o r n ot a ma le had --                           10           A.    Other t han seeing them on National

    11          A.       I do n't know if s h e ever dec ided to u se            11   Geographic , I ' v e n ever been around lemurs .

    12   him.        I don ' t know .                                            12           Q.    Okay .       What do you know about the unique

    13          Q.      Oh, she had cont emplated breeding her                   13   needs of lemurs?

    14   baboons .                                                               14           A.    I don't know .

    15          A.      Could be .                                               15           Q.    No?      Okay .     About their space needs?

    16          Q.       Do you remember what kind of monkey you                 16           A.     (Nods no.)

    17   neutered?                                                               17           Q.    Nutritional requirements for l emurs?

    18          A.      Baboon.                                                  18           A.     (Nods no.)

    19          Q.       It was a baboon?         Do you think a                 19           Q.    Do you know the term enrichment for

    20   veterinarian would ordinarily play a role in                            20   captive animals?

    21   helping a person with a breeding program?                               21           A.    Not specifically.

(   22          A.      They could.                                              22           Q.    It relates to what we were looking at in

    23          Q.       Do you think it ' s necessary?                          23   the vete r inary care program just noH.                   It was

    24          A.      We do it with cattl e a ll the time, but                 24   call ed their - - I think it Has called environmental

    25   I -- I don't k now whe r e you're going to go with                      25   enh ancement .         So you were talking about it's like

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      1    the toys and things.           That ' s -- sometimes we use          1           A.   Nothing .

      2    the word enrichment .          Do you know what kinds of             2           Q.   Nothing to say .     Okay .   In 2006 ,   t1-1o

      3    environmental enhancement requirements lemurs have?                  3   lemurs a t Cricket Hollow Zoo died of encephalitis .

(     4         A.       (Nods no . )                                           4   Do you kn01o if it's common for a l e mur to d ie of

      5         Q.      No?     Okay .   Anything else about their              5   encephal itis?
      6    exercise requirements?                                               6           A.   I don't know .

      7         A.      I'm n ot a big monkey person.                           7           Q.   Is encephalitis a prev entabl e disease?

      8         Q.      Okay.     Anything about the lighting needs             8           A.   Not always.

      9    o f a lemur?                                                         9           Q.   Not always?      Is encepha liti s a treatable

     10         A.      No.                                                    10   disease?
     11         Q.      Socializat ion needs of a lemur?                       11           A.   Not always.

     12         A.      I know they have them, but I --                        12           Q.   So 1-1hen Hould encephalit is be

     13         Q.      Okay.                                                  13   preven table?

     14         A.      I wouldn't recommend anything .                        14           A.   We have two young people around here they

     15         Q.      Do you know if USDA has an opinion about               15   tried treating and they bot h died in high school.

     16    "'hether lemurs should live alone or in groups?                     16   The medical profession's got to make an effort , but

     17         A.      I don't know.                                          17   we still don't know if we can save them .

     18         Q,      Okay.     Do you have an opinicn about                 18           Q.   Okay .     Do you know what contributes to an

     19    housing a lemur with a bushbaby?                                    19   animal developing ence phalitis?

     20         A.      Never thought of that .                                20           A.   No .     Nothing other than it's a

     21         Q.      Thin ki ng about it now, do you have an                21   blood-borne i nfec tion wh en it starts .

     22    opinion?                                                            22           Q.   But you ' re not sur e how a pers on might

     23         A.      No.                                                    23   p r event that blood-borne infectio n?

     24         Q.      Okay.     What's your experience treating              24           A.   No.

     25    l e mu rs as a veterinarian?                                        25           Q.   I n 2009, November of 2009 , a lemur named


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      1         A.      None that I know of.                                    1   Tootsie d ied of old age.          Do you remember Tootsie?

      2         Q.      Ms. Sel lner has n ever brought a lemur to              2           A.   Yes.

      3    your clinic?                                                         3           Q.   How old was Tootsie when she died?

      4         A.      She may have , but sitting here right n o w,            4           A.   I 'm thinking 30-some y ears.

      5    I c an ' t think of any .                                            5           Q.   30-some years?

      6         Q,      Have you ever t reated a lemur d01on at the             6           A.   (Nods yes. )

      7    f arm?      Down at the zoo?                                         7           Q.   Was a necropsy performed?

      8         A.      No .                                                    8           A.   Not that I remember.

      9         Q.      No?     Veterinarians 1-1ho might o rdinarily           9           Q.   In 2010 --

     10    treat primates, do you suppose that t h e y 1-1ould be              10           A.   She had symptoms we thought was pancreas

     11    p rimate specialists or ve terinary generalists?                    11   or liver disease, so --

     12         A.      Primate specialists .                                  12           Q.   l'lha t kind of symptoms?

     13         Q.      Primate specialists?       All righ t .   Do you       13           A.   Pretty poor appetite , weight loss, l ack

     14    ever consult a n y professional standards or                        14   of e nergy.

     15    publications for the care of lemurs?                                15           Q.   Is a problem in the pancreas or liver t he

     16         A.      I haven' t.                                            16   same t hing as old age, death by old age, o r

     17         Q.      No?     Do you have an opinion about what              17   something e l se?

     18    Cricket Hollow Zoo does well for its lemurs?                        18           A.   It can be part of old age.

     19         A.      No opinion.                                            19           Q.   Can be?

     20         Q.      Do you have an opi n ion about what Cricket            20           A.   (Nods yes.)

     21    Hollow Zoo does n ot do well for its lemurs?                        21           Q.   But it ' s no t necessarily?

(    22         A.      No opinion.                                            22           A.   No.      There's young animals that die from

     23         Q.      So if you were asked to spea k about                   23   it, too.

     24    Cricket Hollo1-1 Zoo ' s treatment of l emurs at trial,             24           Q.   So were you able to tell in the case of

     25    you would have n othin g to say.                                    25   Tootsie whether it was the old age or the pancreas

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      1           Q.    " Eve rything" meaning like - -                           1   infection that we medicated with some amoxicillin

      2           A.    Intes tinal , stomach , meat; bone, hide .                2   or s omething in their f ood or water.

      3           Q.    Oka y.     Have you ever recommended ho•1 the             3           Q.     I assume you did that            do~<n   at the zoo?

(     4   Sellners might feed their tigers?                                       4           A.     Yeah, she picked up the medicine from one

      5           A.    No .     I -- I don't do any nutritional, no.             5   of the other vet c linics .

      6           Q.    So you mentioned the tigers r oam for                     6           Q.     Hm1 did you diagnose the tiger?

      7   miles .      How does that affect a captive tiger?                      7           A.     Just by the symptoms, what i t was doing

      8           A.    They don't run for miles.                                 8   and urinating , that we thought we should go with an

      9           Q.    Does it mean anything for ho•t a tiger                    9   antibiotic.

     10   might best be maintai ned in captivity?                               10            Q.     Okay.         Is that the only treatment that

     11           A.    I   d on ' t know what they do with i t , but I         11    you ' ve given t o - -

     12   know being at these zoos and reading books , a lot                    12            A.     That's all I can remember.

     13   of times the ones in captivity live longer than the                   13            Q.     My understanding from the files is that

     14   ones in the wild.          And I   just think it's such a             14    in October of last year , you                 ~<ould    have inspected a

     15   mundane life that they're -- they're living, and in                   15    tiger named casper.               Do you remember Casper?

     16   the wild t hey would have probably g ot shot or run                   16            A.     Vaguely.        A new tiger .

     17   over or something else a te them or they get sick,                    17            Q.     It    ~<a s   a new tiger?

     18   so - -                                                                18            A.     I    think so.

     19           Q.    They do get shot, unfortunately, often.                 19            Q.      Do you remember       ~that    color it    ~<as?


     20   So what do you mean by a mundane l ife?               Describe         20           A.     White or yellow .

     21   ~<hat    that is.                                                      21           Q.     Not sure which one?

     22           A.    They 're in a cage .      You know, you look             22           A.     No.

     23   forNard to your next meal.             Can't be much better            23           Q.     So Cas p er you treated fo r a sore on the

     24   than prison.           The highlight of the day might be the           24   leg.         Do you remember t hat?           Does that refresh your

     25   kids who came by to look at you .                                      25   memory?


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      1           Q.    What kinds of things could a person put                   1           A.     We think he got i t from the cage they

      2   in a tiger's cage to make it less like a prison?                        2   sent him up in .

      3           A.    I suppose some type of a ctivity like                     3           Q.     Oh.      What about the cage that he c a me up

      4   balls or something t hat move s through the re t hat                    4   in?

      5   they can try to catch.                                                  5           A.      I didn't see it.       I think Pam said it was

      6           Q.    Have you ever recommended that t he                       6   awful tight .

      7   Sellners do anything l ike that?                                        7           Q.     The cage 11as tight?

      8           A.    Not on behaviors.                                         8           A.     Yeah.

      9           Q.    Do you have an opini on about what Cricket                9           Q.     Small for the tiger?

     10   Hollo~<      Zoo does well for his tigers?                             10           A.     Narrow.

     11           A.    Yeah.      The ones that have been there for             11           Q.     Narro•t.

     12   quite a while are what I consider very fit.              Good          12           A.     Yeah.

     13   size, nice fill on them , normal looking fur , things                  13           Q.     Okay.

     14   are clean , they always g ot fresh water.            Jus t --          14           A.      I think those cats came from a drug house

     15           Q.    Do you have an opinion about the                         15   in Florida or Texas or something.

     16   psychological welfare of the tigers?                                   16           Q.     So you treated Casper for a sore on his

     17           A.    Don't even think about i t .                             17   leg on Oc tober 8 of 2014.               Sometime in late

     18           Q.    Do you have an opinion about anything                    18   November or early December, Casper died .                      Do you

     19   that Cricket Hollow Zoo might not do well with its                     19   remember that?

     20   tigers?                                                                20           A.     Uh-huh.

     21           A.    Don't know .                                             21           Q.     What -- how did Ca spe r die?

     22           Q.    Okay.      What kind of treatments h a ve you            22           A.     We ll, talking to Pam, we just figure a

     23   delivered, have you conducted, for Cricket               Hollo ~<      23   cat coming up from the south didn't have time to

     24   zoo's tigers?                                                          24   acclimate to the winters, and I'm sure cold had

     25           A.    We may have had      a   tiger with a bladder            25   something to do with it for the way November was.

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       1    Their lungs f i l l up with fluid , t hey jus t die .                1    contract E . co l i?
       2         Q.      Okay.     Can a person prevent quick                    2           A.         I'd have to get some specifics on i t.         I

       3    pneumonia?                                                           3   don't remember .
(      4         A.      No .                                                    4           Q,         Could E . coli spread to other animals?
       5         Q.      No .                                                    5           A.         E . coli is everywhere already .    Just --
       6         A.      (Nods no . )                                            6   could b e a weakness in the immune sys t em where
       7         Q.      What causes i t?                                        7   E. coli would take over in a n adult cat.
       8         A.      Usually a virus up front that gets the                  8           Q.         Do you knov1 how old Luna was when she
       9   bacteria down the t hroat .        Blood-borne infection .            9   died?
      10         Q.     There ' s no treatment f o r qui ck pneumon ia?         10          A.          No.
      11        A.       If y ou kno w it's coming, you can put the             11          Q.          Was a necropsy conducted on Luna ?
      12   right antibiot i cs in the blood , yeah .                            12          A.          Not that I know of.
      13        Q.       I s this a vi ra l infection or a bacterial            13          Q.          There was a note in the file from
      14   infection?                                                           14   Ms. Sellner tha t Luna died -- I believe it was in
      15         A.     It starts as viral, usually.                            15   your file, that Luna died in a cold snap .                  Does
      16        Q.      Starts with viral?                                     16    that        ring a bell?
      17        A.      But if it's blood-borne , it can start                 17           A.          (Nods no.)
     18    with b acterial.                                                    18           Q.          This was from November 13, 2014.
     19         Q.      So you might be able to treat it \oJi th               19           A.      No .
     20    antibiot ics .                                                      20           Q.          Do you think cold 1·/0u ld contribute to an
     21         A.      But y ou need to find t he right                       21    E . coli      problem?
     22    anti biotic.                                                        22           A.      We ll , if it 's -- E. coli generally would
     23         Q.      Okay .     There 's no --                              23    get started because it di dn' t have antibiotics from
     24         A.      By the time you culture the organis m, get             24    the mother 's milk .            So they either have to get
     25    the right antibiotic , they're dead.           So you throw         25    immunity to it o r they ' re g oing to get sick f rom


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       1   the s ink at them a nd hope you hit the right one.                    1   it.     And if they ' re stressed from ei t her extreme
       2        Q.      Okay .     So somet imes a v ir us -- sometimes          2   heat or e x treme cold, i t can make it worse.
       3   a viral infection leads to pneumonia.               ~lhat   e lse    3           Q.      Okay .      Have you or has anyone els e in
      4    leads to pneumonia in a tiger?                                       4    your cl i nic declawed any of the tigers at Cricket
      5         A.      Autoinunune .                                           5    Hollow Zoo?
      6         Q.      Auto immune?     In \~h at \~ ay does an                6           A.      No.
      7    autoimmun e condition - -                                            7           Q.      Have you or has anyone in your clinic
      8         A.      Inunune system stops it, keeping the lung               8    microchipped any of the tigers at Cricket Hollow
      9    normal , gets wet .       There's n o infection there.               9    Zoo?
     10         Q.      Have any of the tigers at Cricket Hollow               10           A.      I    don't think so.
     11    zoo e xhibit ed autoimmune d isorders .                             11           Q.      No?       I ' m going to enter another exhibi t
     12         A.      I don't know.     I t's rare.                          12    here.
     13         Q.      Do you remember hO\~ old Raoul ~1as when he            13                       (Deposit ion Exhibit H marked for
     14    died?                                                               14    identi fication, as r equested.)
     15         A.      Looking at that picture from February, I               15           Q.          (MR. PIERCE)    This is a photograph that
     16    assume it wasn't a year old there .                                 16    the USDA took a t Cricket Hollow Zoo.                 Do yo u
     17         Q.      Okay .    An d then Luna, a tiger named Luna           17    recognize that as a tiger at Cricket Hollow Zoo?
     18    died in 2014.          Do you remember Luna?                        18           A.      I    can see there ' s a tiger the re on the
     19         A.      The name rings a bell.                                 19    r oof, yeah .
     20         Q.      Do y ou know what killed Luna?                         20           Q,     What ob serva tions wi l l you make about the
     21         A.      No.                                                    21    enc lo sure there at Cricket Ho l low Zoo?
(    22         Q.      So we have a n ote that Luna died of                   22           A.     It ' s one of Pam's cages.
     23    E . coli .     Does that sound familiar?                            23           Q.     Ho1~ would you rate t he size of the
     24         A.      No.                                                    24    enclosure relat ive to the needs of a tiger?
     25         Q,      No?      Do you know how a tiger would                 25           A.     Well , they're a l l the same size.

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     1        Q.     But compared to 1-1hat a tiger might need                  1           Q.   Okay.      Do you knol-l h01-1 a person 1-1ould

     2   to be --                                                               2   knol-l for sure if they had a real 1-1olf or a hybrid

     3        A.     I have no opinion.                                         3   1-/0lf?

(    4        Q.     In the foreground of that photograph,                      4           A.   I'd do DNA off hair fol l icl es or blood .

     5   1-1hat do you observe on the ground?                                   5           Q.   Okay .     How would you describe the unique

     6        A.     Cat fece s.                                                6   needs of     ~1olves?

     7        Q.     So you ment ioned that 1-1hen you make your                7           A.   Pack a nimal, very social , run a long way

     8   visits to the fa rm, one thing that you inspect is                     8   f o r the ir food, very smart, hunt in p a cks.             Don' t

     9   to see t h at feces doesn't accumulate in the                          9   get a long wi th othe r packs at a l l, u n less it ' s

    10   enclosures .       Would you say that t h at is a -- h o1-1          10    mayb e mating .

    11   much feces 1-10uld you say that that is i n that                     11            Q.   Anything else unique to 1-1olves?

    12   photograph?                                                          12            A.   A l ot of l ocalization .       They u nde rstand

    13        A.     Oh, probably abo u t a day' s worth, I                   13    well.

    14   suppose.                                                             14            Q.   Between each o t her?

    15        Q.     Okay .    So that amount of feces 1-1ould be             15            A.   Yeah.

    16   ordinary,    in your opinion?                                        16            Q.   How many 1-10 l ves are usually in a pack, do

    17        A.     Probably going to get c l ean ed l ater that             17    you know?

    18   day and that wou l d h ave b een f rom t h e even ing                18            A.   Oh, I would guess most packs would b e

    19   before.                                                              19    a bout seven to 10.         Maybe b igger , maybe s maller.

    20       Q.      Ho1~ 1-1ould you characterize the                        20            Q.   And how big is a Hol f' s terri tory

    21   opportunities for play or exercise or stimulation                    21    normally?        Or a pack ' s     territory?

    22   in that enclosure?                                                   22            A.   Oh, God .     Miles.     20, 30 miles .   In

    23        A.    No opin ion .                                             23    Ye l l owstone, the ones that are t agged mi ght even go

    24       Q.     No opinion?                                               24    farthe r t han that .       Mount ain lions are a hun dred

    25        A.    No.                                                       25    s quare mi les.


(                                                                 134                                                                            136
     1       Q,      HOI-I Hould you characterize the                           1           Q.   So g i ven those unique characterist i cs of

     2   opportunities for shade in that enclosure?                             2   1-1olves, ho1-1 do you think a zoo can account for

     3        A.     She's got a little bit up above and they                   3   those needs in captivi t y?

     4   have the shelter.                                                     4            A.   I don ' t think any zoo can.

     5       Q.     What about water?                                           5           Q.   Okay .     So - -

     6        A.    Usuall y t he wat e r e r s are toward the back             6           A.   I t would be like my dog.          You know.

     7   here.                                                                  7   The r e ' s two of t hem.        Bu t they get to play all ove r

     8       Q.     Okay .     Thank you .    Anything else about               8   the place.         But you can ' t just let wol ves go a nd

     9   that photograph ?                                                      9   come b ack to the zoo at night .           Just ain ' t going t o

    10        A.     I can ' t - - it looks l ike t here ' s food             10    happen.

    11   laying here to the s ide , b ut      I can' t ma ke out --           11            Q.   Is there anything a person could do to

    12   other than back lighting s i te, is a l l I can see.           I     12    try to meet the needs of a wolf in captivity?

    13   can ' t tel l wh ich whi te tiger that i s .                         13            A.   I have n o opinion.

    14       Q.     Thank you .      So wolves.     Moving on to              14            Q.   No opinion?

    15   wolves.     How would you - - do you have experience                 15            A.   No.

    16   observing or studying 1-1olves in the wild?                          16            Q.   Do you have an opinion about 1-1hat this

    17       A.     Just televi sion s h ows.                                 17    zoo does 1-1ell f o r i ts wolves?

    18       Q.     Television?                                               18            A.   I don't -- I don't know as Pam does

    19       A.     Yeah.                                                     19    anything a ny different than Osborn, and Osborn

    20       Q.     Okay.      And I think you said earlier that              20    doe sn' t h ave anyt hing but o ne wolf l eft, so , n o,

    21   you Hould have trouble distinguishing bet1-1een a                    21    n ot r eally .      I g u ess people like to see them , but I

    22   1-10lf and a hybrid wolf by sight?                                   22    really don ' t thi nk they should be kept.

    23        A.    Yeah , I -- I know these p eop l e in                     23            Q.   Do you think the Cricket Ho l lo1-1 zoo does

    24   Belle Pl aine .      Oth e r than the p u rebreds were               24    not do anything well with its wolves?

    25   bigger, there wasn ' t a whole l ot of diffe rence .                 25            A.   I h ave no opinion .

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